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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:08CR479
                    Plaintiff,                   )
                                                 )
      vs.                                        )              ORDER
                                                 )
ROBERT MORIMOTO,                                 )
                                                 )
                    Defendant.                   )


      This matter is before the court on the motion for an extension of time by defendant
Robert Morimoto (Morimoto) (Filing No. 38). Morimoto seeks additional time in which to
file pretrial motions in accordance with the progression order. The motion will be held in
abeyance pending the filing of the Morimoto's affidavit in accordance with Paragraph 9 of
the Progression Order (Filing No. 13). In the absence of such filing on or before January
23, 2009, the motion may be denied.
      IT IS SO ORDERED.
      DATED this 20th day of January, 2009.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
